
Jasen and Jones, JJ.
(dissenting). We would reverse the order appealed from for the reasons stated in so much of the dissenting opinion of Mr. Justice Stewart F. Hancock, Jr., at the Appellate Division (69 AD2d, at pp 294-296) as concluded that appellants’ actions did not proximately cause the accident and the injuries sustained by plaintiff Brigette Sewar.
Chief Judge Cooke and Judges Gabrielli and Wachtler concur in memorandum; Judge Fuchsberg concurs in a concurring opinion in which Judge Meyer concurs; Judges Jasen and Jones dissent and vote to reverse in another memorandum.
Order affirmed.
